




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-09-00062-CR

No. 10-09-00063-CR

&nbsp;

P. David Romei,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant

&nbsp;v.

&nbsp;

The State of Texas,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee

&nbsp;

&nbsp;

&nbsp;



From the 361st District
Court

Brazos County, Texas

Trial Court Nos. 07-04489-CRF-361
and 07-04491-CRF-361

&nbsp;



ORDER



&nbsp;








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; P. David Romei was convicted
of theft of property, a felony, and misapplication of fiduciary property, a
misdemeanor.&nbsp; Tex. Penal Code Ann. §§ 31.03(f)(2) and 32.45 (Vernon Supp. 2008).&nbsp; Sentence was pronounced in each conviction on January 12, 2009.&nbsp; The reporter’s records in these appeals were originally due March 13, 2009.&nbsp; Neither record has been filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In an effort to comply with
this Court’s duty under Texas Rule of Appellate Procedure 35.3(c), on April 14, 2009, with the full Court’s approval, the Clerk of this Court prepared a letter
to the trial judge of the 361st District Court documenting the reporter’s
records from that court which were overdue in this Court.&nbsp; The records from
these appeals, case numbers 10-09-00062-CR and 10-09-00063-CR, were included in the Clerk’s list of overdue records.&nbsp; On April 17, the
trial judge responded by letter and informed the Clerk that, as to these
appeals, the reporter was working diligently and would provide them as timely
as possible.&nbsp; The trial judge did not give the Clerk a set date for the filing
of the records but did inquire about the frequency with which he received
communications about late records.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On April 29, 2009, this Court responded by letter, with each justice signing the letter, explaining that we
were endeavoring to comply with Rule 35.3(c) and detailing the actions taken by
the Court or the reporter in each of the appeals that had been listed in the
earlier correspondence by the Clerk.&nbsp; We noted that, in these appeals, no
specific date was given as to when the records would be filed.&nbsp; We also
expressed our appreciation for the trial judge’s attention to the matter.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There was no response to
this last correspondence from the Court until May 15, 2009, when we received a document from the reporter informing us that he had obtained the services of a
“very competent transcriptionist” to complete the record in appellate case
number 10-09-00063-CR.&nbsp; The reporter requested an extension to August 15, 2009 to file the record in appellate case number 10-09-00063-CR.&nbsp; Nothing was mentioned about the record in appellate case number 10-09-00062-CR, the companion appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On May 22, 2009, we received a fax of an identical document from the reporter regarding appellate case
number 10-09-00062-CR.&nbsp; As was requested in 10-09-00063-CR, the reporter requested an extension until August 15, 2009 to file the record in 10-09-00062-CR.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; By letter dated June 2, 2009, we approved the extension in both appellate cases and ordered the records
filed by August 15, 2009.&nbsp; The reporter was warned that the failure to file the
records may result in an order to show cause why the reporter should not be
held in contempt for failure to timely file the reporter’s records.&nbsp; August 15, 2009 has passed, and a reporter’s record has not been filed in either appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On August 18, 2009, we received another request for an extension of time to file the reporter’s record
but only in appellate case number 10-09-00062-CR.&nbsp; The reporter requests an additional two months, to October 14, 2009, to file the record in this appellate case number.&nbsp; His reasons for needing the additional time are set out in full.

I would like to summarize that I have
had numerous smaller appeals that I have gotten out this year, a 2,000 page
record from April of 2008 that was only requested late 2008, this 2,000 page
trial from November of 2008, and also a capital murder trial from January
through March of 2009.&nbsp; I had to immediately work on the testimony of the
capital murder case because there’s a companion case that is to be tried this
fall and it was necessary to prepare the testimony of the capital case for a
companion trial to be tried this fall.

&nbsp;

I will also point out that I have
obtained the services of an excellent transcriptionist and also a proofreader
to assist me in getting caught up.

&nbsp;

Also, there are many exhibits that have
to be organized, copies (sic) and bound.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The reasons are
substantially the same as those explaining his earlier request for a five month
extension of time.&nbsp; We have not received any correspondence regarding why the
reporter’s record in appellate case number 10-09-00063-CR was not filed on August 15, 2009 as ordered, nor have we received a request for an extension of
time to file the reporter’s record for that appellate case number.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Nevertheless, the reporter’s
request for an extension to file the reporter’s record in appellate case number
 10-09-00062-CR is granted.&nbsp; We also extend the time to file the reporter’s
record in appellate case number 10-09-00063-CR.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Therefore, the reporter is ORDERED
to deliver the reporter’s record in both appellate case numbers 10-09-00062-CR and 10-09-00063-CR into the hands of either the Clerk or a Deputy Clerk of
the Tenth Court of Appeals at 501 Washington, Suite 415, Waco, Texas by October 14, 2009, at 10:00 a.m. or to appear in person, with or without an
attorney, on that date and at that time for a hearing before the justices of
the Tenth Court of Appeals to explain why the reporter’s records were not filed
by that date.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Failure to file the reporter’s records as ordered herein or to
appear in person for the hearing will result in the issuance of an order to
show cause why the reporter, the Hon. Felix Thompson, should not be held in
contempt of court for such failure.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In addition to being mailed
to the representatives of the parties and trial court, the Clerk of this Court
is ordered to cause this Order to be delivered by courier receipted restricted
delivery, certified mail return receipt requested, and regular first class mail
to:

Hon. Felix
Thompson

361st District
Court

300 E. 26th, Suite 305

Bryan, Texas&nbsp; 77803

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

Before Chief
Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Davis

Order issued
and filed September 15, 2009

Publish 





